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FOR THE WESTERN DISTRICT oF TENNES sEE 05 AUG 1
WESTERN DWISION 5 H I+= 55
jimwa
JANET sHlRLEY, as surviving spouse and for mfg ,;~'§§'{_`;` m:TDOURT
the estate of JERRY SHIRLEY, Deceased, " SHS

JASON SHIRLEY, JAYANN SHIRLEY
And JANA SHIRLEY, children of Deceased,
.lERRY SHIRLEY.

Plaintiffs,
v. CASE NO.: 03 2679 BP

THE GOODYEAR TIRE & RUBBER COMPANY,

An Ohio corporation, GOODYEAR DUNLOP TIRES

OF NORTH AMERICA, LTD., a New York

Corporation, SUl\/IITOMO RUBBER INDUSTRIES_1 INC.,

a foreign Corporation, and DUNLOP TIRE CORPORATION,
a Delaware Corporation,

Dei`endants.

 

OR])ER ALL()WING K. NOELLE P()NSETTO FOR ADMISSION PRO HAC VICE

 

Based upon the motion of Defendants, for admission of Katherine N. Ponsetto to practice
pro hac vice in this action on behalf of the Defend.ants, and in accordance with Rule 83.l(b) ol`

the Rules of Practice of the United States District Court for the Western District of Tennessee;

lT lS ORDERED BY THE COURT that Katherine N. Ponsetto, a member ol" the
California Bar and the United States District Court for the Central. District oi" Calii"ornia, be and
she hereby is admitted to practice before this Court, pro hac vice, for purposes ot` the instant

litigation only,

DATED this fe L~E_L`day ot Wm .ZM

wo srATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 119 in
case 2:03-CV-02679 Was distributed by faX, mail, or direct printing on
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William S. Frates

WILLIAM S. FRATES, 1[, P.A.
830 Azalea Ln.

Vero 13each7 FL 32963

David Lee Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Roy Brasfield Herron
P. O. BoX 5
Dresdin, TN 38225

Clinton .1. Simpson

BAKER DONELSON BEARMAN & CALDWELL
20th Floor

165 Madison Avenue

1\/1emphis7 TN 38103

Katherine N. Ponsetto

STEPHAN ORINGHER RICHMAN & THEODORA
535 Anton Blvd.

9th fl.

Costa Mesa, CA 92626--190

.1 ohn S. Hicks

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Nashville
211 Commerce St.

Ste. 1000

Nashville, TN 37201

Daniel B. Snellings

WILLIAM S. FRATES, 1[, P.A.
830 Azalea Ln.

Vero 13each7 FL 32963

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Todd C Theodora

STEPHAN ORINGHER RICHMAN & THEODORA
2209 Century Park East

6th Floor

Los Angeles7 CA 90067--290

Honorable .1. Breen
US DISTRICT COURT

